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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   MATTHEW M. SCOBLE, Bar# 237432
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     ANGELA SHAVLOVSKY
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )       CR. S-11-427-LKK
12                                )
                  Plaintiff,      )       STIPULATION AND ORDER
13                                )
             v.                   )       DATE: June 26, 2012
14                                )       Time: 9:15 a.m.
     VALERI MYSIN et al.,         )       JUDGE: Hon. Lawrence K. Karlton
15                                )
                  Defendants.     )
16                                )
     ____________________________ )
17
18       It is hereby stipulated and agreed to between the United States of
19   America through, STEVEN LAPHAM, Assistant U.S. Attorney, defendant,
20   ANGELA SHAVLOVSKY by and through her counsel, MATTHEW M. SCOBLE,
21   Assistant Federal Defender, JOHN DUREE JR., attorney for VALERI MYSIN,
22   DINA SANTOS, attorney for MICHAEL KENNEDY, JOSEPH WISEMAN, attorney for
23   ALEXANDER KOKHANETS, JULIA YOUNG, attorney for BORIS MURZAK, and
24   attorney for ZINAIDA MURZAK, and JOHN BALAZS, attorney for VITALIY
25   TUZMAN, that the status conference set for Tuesday, May 15, 2012, be
26   continued to Tuesday, June 26, 2012, at 9:15 a.m.
27       The reason for this continuance is to allow defense counsel
28   additional time to review discovery with the defendant, to examine
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 1   possible defenses and to continue investigating the facts of the case.
 2       The parties agree that the requested continuance is necessary to
 3   provide defense counsel reasonable time necessary for effective
 4   preparation, taking into account the exercise of due diligence.        The
 5   parties agree that the ends of justice to be served by a continuance
 6   outweigh the best interests of the public and the defendants in a
 7   speedy trial, and they ask the Court to exclude time within which the
 8   trial of this matter must be commenced under the Speedy Trial Act from
 9   the date of this stipulation, May 14, 2012, through June 26, 2012,
10   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4,
11   pertaining to reasonable time for defense preparation.
12
13   Dated: May 14, 2012                 Respectfully submitted,
14                                       DANIEL J. BRODERICK
                                         Federal Defender
15
16                                       /s/ Matthew M. Scoble
                                         MATTHEW M. SCOBLE
17                                       Assistant Federal Defender
                                         Attorney for ANGELA SHAVLOVSKY
18
19                                       /s/ Matthew M. Scoble for
                                         JOHN DUREE JR.
20                                       Attorney for VALERI MYSIN

21
                                         /s/ Matthew M. Scoble for
22                                       DINA SANTOS
                                         Attorney for MICHAEL KENNEDY
23
24                                       /s/ Matthew M. Scoble for
                                         JOSEPH WISEMAN
25                                       Attorney for ALEXANDER KOKHANETS

26
                                         /s/ Matthew M. Scoble for
27                                       JULIA YOUNG
                                         Attorney for BORIS MURZAK
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 1                                       /s/ Matthew M. Scoble for
                                         JULIA YOUNG
 2                                       Attorney for ZINAIDA MURZAK
 3
                                         /s/ Matthew M. Scoble for
 4                                       JOHN BALAZS
                                         Attorney for VITALIY TUZMAN
 5
 6
     Dated: May 14, 2012                 BENJAMIN B. WAGNER
 7                                       United States Attorney

 8
                                         /s/ Matthew M. Scoble for
 9                                       STEVEN LAPHAM
                                         Assistant U.S. Attorney
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11
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13                                      O R D E R

14
15       The Court having received, read, and considered the stipulation of
16   the parties and good cause appearing therefrom, the Court adopts the
17   parties' stipulation as its order in its entirety.          It is ordered that
18   the status conference presently set for May 15, 2012, be continued to
19   June 26, 2012, at 9:15 a.m.     The Court hereby finds that the requested
20   continuance is necessary to provide defense counsel reasonable time
21   necessary for effective preparation, taking into account the exercise
22   of due diligence.    The Court finds the ends of justice to be served by
23   granting a continuance outweigh the best interests of the public and
24   the defendants in a speedy trial.
25       It is ordered that time from the date of the parties’ stipulation,
26   May 14, 2012, up to and including, the June 26, 2012, status conference
27   shall be excluded from computation of time within which the trial of
28   this matter must be commenced under the Speedy Trial Act pursuant to 18


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 1   U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense
 2   counsel reasonable time to prepare).
 3       IT IS SO ORDERED.
 4
 5   Dated: May 14, 2012
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